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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      Case No. 23-cr-112 (ACR)
               v.                             :
                                              :
JASON PARSONS,                                :
                                              :
                       Defendant.             :

                        UNOPPOSED MOTION TO UNSEAL CASE

       The United States, by and through undersigned counsel, respectfully moves to unseal this

case. The reasons that necessitated sealing in this matter are no longer present, and the matter can

be unsealed. Defense counsel for the defendant has been informed that the government is moving

to unseal this case and does not oppose unsealing.

                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                              By:    /s/ Katherine E. Boyles
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